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      In The United States Court of Federal Claims
                                              No. 08-50T

                                    (Filed: December 10, 2010)
                                            __________

 TIMOTHY L. JENKINS,

                                 Plaintiff,

                         v.

 THE UNITED STATES,

                                Defendant.

                                              _________

                                               ORDER
                                              _________

        Today, defendant filed a motion for enlargement of time to file simultaneous post-trial
briefs. The motion is hereby GRANTED. Accordingly:

       1.       On or before December 21, 2010, the parties shall simultaneously
                file post-trial briefs;

       2.       On or before January 28, 2011, the parties shall simultaneously file
                replies to the initial post-trial briefs; and

       3.       After replies have been filed, the court will contact the parties
                telephonically to arrange a date for closing argument.

       IT IS SO ORDERED.


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
